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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA, et al.,

                      Plaintiffs,
                                                     Civil Action No. 1:20-cv-03010
       v.
                                                     HON. AMIT P. MEHTA
GOOGLE LLC,

                      Defendant.


      NON-PARTIES’ POSITION STATEMENT ON THE PROTECTIVE ORDER

       Non-Parties were required to produce in Plaintiffs’ investigation extremely sensitive

business documents concerning how they compete against and negotiate with Google.

Disclosing these particularly sensitive documents to any Google employee risks serious harm to

the Non-Parties and to the strong public interest in competition. Thus, Non-Parties respectfully

request the Court adopt a two-tiered protective order as Plaintiffs propose. Google disagrees,

relying principally on the protective order entered in FTC v. Sysco Corporation. But this

monopolization case—and the confidential materials involved—are fundamentally different from

those at issue in Sysco, and the unique risks of inadvertent disclosure and improper use of the

Non-Parties’ highly confidential materials substantially outweighs any need identified by

Google.

       A. Non-Parties Have Produced Extremely Sensitive Materials that Warrant
          Heightened Protections

       The Non-Parties have produced thousands of sensitive documents concerning their

business relationships and efforts to compete with Google. While some of these documents can

safely be made available to selected Google in-house counsel (and would be, under Plaintiffs’

proposed two-tiered order), disclosure of the Non-Parties’ most sensitive documents would



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afford Google an unfair advantage in competition, commercial negotiations, and, in some cases,

ongoing litigation against Non-Parties. 1

         The highly sensitive documents produced by the Non-Parties in the Plaintiffs’

investigation include:

             •   Forward-looking business plans regarding new product development, business
                 strategy, and plans to respond to Google’s marketplace conduct;

             •   Documents outlining negotiation strategies regarding business relationships with
                 Google, including in negotiations that are ongoing;

             •   Documents analyzing the ways in which certain Non-Parties are dependent on
                 Google, and the potential adverse impact of Google’s actions on those Non-
                 Parties; and

             •   Internal documents in which the Non-Parties evaluate the strengths and
                 vulnerabilities of their competitive offerings, and in particular how those offerings
                 might be vulnerable to actions by Google. 2

         Disclosure of Highly Confidential materials to in-house counsel without adequate

protections could present unique risks because “their continuing employment often intimately

involves them in the management and operation of the corporation of which they are a part.”

FTC v. Exxon Corp., 636 F.2d 1336, 1350 (D.C. Cir. 1980). With access to Highly Confidential

information, certain in-house counsel could be placed “in the ‘untenable position’ of having to

refuse his employer legal advice on a host of contract, employment, and competitive marketing

decisions lest he improperly or indirectly reveal [a competitor’s] trade secrets.” Brown Bag

Software v. Symantec Corp., 960 F.2d 1465, 1471 (9th Cir. 1992).


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     As Plaintiffs’ counsel noted at the November 18 hearing, Non-Parties also produced confidential
     information related to alleged anticompetitive conduct not encompassed in this Complaint. Although
     the definition of “Investigative Materials” in the Parties’ proposed protective orders does not
     distinguish between these separate investigations (see ¶ A(i-j)), confidential materials not related to
     the allegations in the complaint should not be produced in this litigation at all, much less to Google’s
     in-house counsel. Non-Parties reserve all objections to forthcoming discovery requests and ask to be
     heard if Google seeks discovery of these unrelated and highly sensitive materials.
 2
     Non-Parties can produce examples of such documents for in camera review if the Court wishes.

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       Here, disclosure of Non-Parties’ Highly Confidential documents to Google employees

would provide Google with a playbook on issues such as attacking its would-be competitors and

other market participants, gaining leverage in negotiations with the Non-Parties, and countering

the Non-Parties’ future business plans. See United States v. Aetna, Inc. No. 16-cv-01494, 2016

WL 8738420, *5-6 (D.D.C. Sept. 5, 2016) (providing Aetna’s in-house counsel with access to

“confidential information of other insurers undoubtedly risks giving Defendants an unfair

advantage in competition” and confidential information from healthcare providers “could

provide the Defendants with a significant advantage in future negotiations with these

providers”). In a case brought to protect competition and consumers from Google’s alleged

anticompetitive behavior, it would be a perverse result if disclosure of strategic documents in this

litigation enabled Google to maintain or even expand its advantage over competitors and

commercial counterparties.

       Google contends that the safeguards adopted in FTC v. Sysco are sufficient to protect the

Non-Parties’ interests, but this case is fundamentally different. Whereas Sysco involved a

merger challenge, Plaintiffs here allege that Google “willfully maintained and abused its

monopoly power” through “anticompetitive and exclusionary distribution agreements” that

foreclose competition. Compl. ¶ 175. Much of the anticompetitive conduct alleged in the

Complaint is directed at some of the same Non-Parties whose documents are at issue. And

courts regularly impose stricter limitations on in-house counsel access where a defendant is

alleged to have engaged in anticompetitive conduct. See, e.g., United States v. Apple, Inc., No.

11-md-02293, Dkt. No. 149 (S.D.N.Y. May 9, 2012); United States v. American Express Co.,

No. 10-cv-004496, Dkt. No. 102 (E.D.N.Y. Apr. 7, 2011); United States v. Hillsdale Community

Health Center, No. 15-cv-12311, Dkt. No. 49 (E.D. Mich. Dec. 15, 2015).



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       Moreover, the Highly Confidential materials at issue here are more sensitive than those in

Sysco, and thus, the risk of harm to competition is greater. While Sysco involved the merger of

two food distribution companies whose main assets were trucks and warehouses, Non-Parties

here are developing high-technology products and services in rapidly evolving markets.

Confidential plans concerning this future innovation require a higher degree of vigilance than

documents concerning the mature food distribution business. Notably, in New York v. Deutsche

Telekom AG (“T-Mobile”), itself a merger matter but which concerned the evolving mobile

telecommunications industry, the court adopted a two-tiered protective order that shielded the

most sensitive materials of third parties (including Google) from defendants’ in-house counsel.

Order ¶ A.1, No. 1:19-cv-05434, Dkt. No. 185 (S.D.N.Y. Aug. 14, 2019). Here, Non-Parties’

highly confidential information pertains to advanced technology in online search, artificial

intelligence, mobile devices, deep machine learning, and internet-of-things devices (see e.g.,

Compl. ¶¶ 2, 12), information that warrants at least as much protection as the

telecommunications information at issue in T-Mobile.

       B. Plaintiffs’ Two-Tiered Proposal Will Not Impair Google’s Defense

       Google does not even attempt to show that Plaintiffs’ proposed protective order will

prejudice its ability to litigate this case, nor could it credibly do so. Google’s outside counsel are

highly competent and experienced with antitrust litigation generally and Google’s business

specifically, having represented Google in antitrust matters for many years. Moreover, under

Plaintiffs’ two-tiered structure, Google’s in-house designee would have access to Confidential

material produced in the litigation. Google does not offer even a boilerplate explanation for

“why it would be essential for [its in-house counsel] to pore over the [Non-Parties’] Highly

Confidential Information.” FTC v. Advocate Health Care Network, 162 F. Supp. 3d 666, 671

(N.D. Ill. 2016).

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       Instead, Google states only that “it was concluded [in Sysco] that it was appropriate to

grant in-house attorneys access to confidential material.” Google’s Submission at 3. That is

correct as a description of Sysco, but says nothing about Google’s real needs here. As explained

above, this case is fundamentally different from Sysco, and two-tiered protective orders like the

one proposed by Plaintiffs are common in cases alleging anticompetitive conduct.

       Furthermore, to the extent that the Court may be concerned that certain Highly

Confidential documents may need to be disclosed to an in-house designee, the Court could revise

Plaintiffs’ proposal to grant such access on a document-by-document basis upon a showing of

particularized need that outweighs the confidentiality interest of the producing party. See, e.g.,

T-Mobile Order ¶ E.2 (allowing access on a document-by-document basis upon showing by

defendant that there was good cause for the disclosure that would not be outweighed by the

possible prejudice to the third party). But it should be Google’s burden (as the defendant

accused of anticompetitive conduct) to demonstrate that particularized need, and not the Non-

Parties’, who are only here because they have produced documents under compulsory process, to

defend their Highly Confidential materials.

       Google argues that a two-tiered structure will hamper discovery because Google

presumes third parties will over-designate materials as Highly Confidential. But that is baseless

speculation, and it provides no reason to adopt Google’s proposed order. As an initial matter,

especially for Non-Parties that compete directly with Google, many documents produced could

well require the highest level of protection because they present the greatest risk of competitive

harm. But there is no basis to presume that Non-Parties will abuse this system. Moreover,

Plaintiffs’ proposed order provides a mechanism to address any over-designation. Google’s

experienced outside counsel is fully capable of challenging designations, and because those



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outside counsel will have access to all discovery materials during any dispute, there is no risk of

delay. Similar challenge procedures are commonplace in two-tiered protective orders, and

Google does not explain why they would be insufficient here.

       The Non-Parties do request one modification to Plaintiffs’ proposed designation process

to ease the burden on Non-Parties who have already spent considerable resources responding to

compulsory process in this investigation. Non-Parties should be permitted to effect that

designation via written notice applying the designation to existing control number range(s) rather

than re-stamping every page, or portions of every page, with a new designation.

       C. Google Must Identify Its In-House Designees Now So That the Court Can
          Evaluate the Risks of Disclosure With Input from Non-Parties

       The Court can only properly evaluate the risk of disclosure to in-house counsel by

considering, on a counsel-by-counsel basis, whether the individuals are involved in any aspect of

competitive decision-making. See U.S. Steel Corp. v. United States, 730 F.2d 1465, 1468 (Fed.

Cir. 1984). As this Court recognized in Sysco, the question is not one of in-house counsel’s

“integrity, ethics or willingness to comply with the Protective Order,” but rather “whether a

designated in-house lawyer is ‘positioned to advise the client as to business decisions that the

client would make regarding [competitive decision-making].’” 83 F. Supp. 3d 1, 3 (D.D.C.

2015) (quoting FTC. v. Whole Foods Market, Inc., No. 07-1021, 2007 WL 2059741, at *2

(D.D.C. July 6, 2007)).

       Yet Google’s proposed order keeps secret the identity of its in-house designees. And

even Plaintiffs’ proposal only contemplates notice of Google’s designees to Plaintiffs. Plaintiffs’

Proposed Protective Order ¶¶ 17-18. But the Non-Parties—whose most sensitive documents are

at issue—must have an opportunity to review and (if necessary) object to Google’s in-house

designations. Indeed, Non-Parties may be in the best position to explain how granting access to


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certain Google employees risks misuse of Confidential Information in other contexts. Google

must identify its in-house designees now, prior to any disclosure, so that the Court can conduct

(as it did in Sysco) a “careful and sensitive assessment of the entire setting in which in-house

counsel functions.” Advocate, 162 F. Supp. 3d at 669.

       “Competitive decision-making” is not a “self-defining test” but a “serviceable shorthand

for a counsel’s activities, association, and relationship with a client.” Id. (quoting U.S. Steel, 730

F.2d at 1468 n.3). Plaintiffs’ proposed definition appropriately accounts for the myriad ways

that in-house counsel could use confidential information to disadvantage Non-Parties or harm

competition and consumers. By contrast, Google would require only that in-house counsel attest

that they are not involved in “formulating or implementing strategies to compete with [Google’s]

competitors” or “pricing strategies.” Google’s Proposed Protective Order App’x B. Google’s

cramped formulation risks harm to non-price competition and disadvantaging companies that

contract with, but do not directly compete with, Google.

       Moreover, involvement in competitive decision-making is only “one basis for limiting

access.” Advocate, 162 F. Supp. 3d at 669. As one example, several Non-Parties are embroiled

in separate litigation with Google. If Google’s same in-house counsel responsible for that

ongoing litigation were granted access to its adversary’s confidential information through this

litigation, that asymmetric access would cause those Non-Parties additional undue prejudice.

                                                ***

       For the reasons set forth above, the Court should adopt a two-tiered protective order. The

Court should require Google to identify its in-house designees (with notice to Non-Parties) so

that the Court can evaluate their roles within Google and with respect to this litigation.




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Dated: November 20, 2020           Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

       I hereby certify that on November 20, 2020, the foregoing document was electronically

submitted with the clerk of the court for the United States District Court, District of Columbia,

using the electronic case file system of the court. The electronic case file system sent a “Notice

of Electronic Filing” to all counsel of record.




                                                  /s/ Matthew Guice Aiken
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